                                                           PH               FILED
                                                                    JANUARY 2, 2008
                                                                       MICHAEL W. DOBBINS
                                                                    CLERK, U.S. DISTRICT COURT


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION                                      08 C 6
GERALD E. LAMPKIN,                                    )
                                                      ) No. __________
                    Plaintiff,                        )
                                                      ) Judge____________
                            v.                        )                  JUDGE MANNING
                                                      )          MAGISTRATE JUDGE ASHMAN
LOYOLA UNIVERSITY MEDICAL CENTER,                     ) Magistrate Judge________
                                                      )
                                                      ) JURY DEMANDED
                    Defendant.                        )

                                 COMPLAINT
      NOW COMES THE PLAINTIFF, GERALD E. LAMPKIN, through
his attorney, ARMAND L. ANDRY, and complaining of Defendant,
LOYOLA UNIVERSITY MEDICAL CENTER, would submit the
following as his complaint against Defendant:
                                 JURISDICTION
      1. This is an action by a citizen of the United States against the
Defendants, LOYOLA UNIVERSITY MEDICAL CENTER. This action
arises under The Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e et
seq.; the Civil Rights Act of 1871, 42 U.S.C. 1981 and Illinois laws against
defamation. This court has jurisdiction under 28 U.S.C. 1331 (a), 1337 and
1343, in that the claims involved violation of federally protected rights and
violations of State Rights ancillary to federal rights.
                                   PARTIES
      2. Plaintiff, GERALD E. LAMPKIN, is an African-American citizen
of the United States and a previous employee of Defendant, LOYOLA
UNIVERSITY MEDICAL CENTER and at all times relevant to this
complaint was Assistant Manager of Radiology Administration.



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        3. Defendant, LOYOLA UNIVERSITY MEDICAL CENTER is an
employer as defined by the Civil Rights Act of 1964 and was Plaintiff’s
employer at all times relevant to this complaint.
                            ADMINISTRATIVE ACTION
   4. Plaintiff GERALD E. LAMPKIN filed charges of discrimination on
        September 8, 2007. Plaintiff alleged race discrimination and
        retaliation under charge no. 440-2007-06598.
   5.    Plaintiff was sent a right-to-sue letter dated October 5, 2007
        advising him that he had 90 days from the receipt of the letter to file
        in federal court.
                                    FACTS
   6. Plaintiff, GERALD E. LAMPKIN, began employment with
        Defendant on March 18, 2002 as a Laboratory Support Services
        Specialist.
   7. At the time of his hire his job grade was grade 42 and his rate of pay
        was $21.00/hour or $43,680.00 annually.
   8. On June 30, 2002, Plaintiff’s salary was increased to $21.21/hour or
        $44,116.80 annually.
   9. In Plaintiff’s 2002-2003 annual performance review, he was rated as
        having fulfilled all job requirements.
   10. On June 29, 2003, Plaintiff’s salary was increased to $21.74/hour
        based on a merit increase or $45,219.20 annually
   11. In Plaintiff’s 2003-2004 annual performance review, he was rated as
        having fulfilled all job requirements.
   12. On June 27, 2004, Plaintiff’s salary was increased to $22.34/hour
        based on a merit increase or $46,467.20 annually



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13. On September 13, 2004, Plaintiff was placed in the position of
   Assistant Manager Radiology.
14. In Plaintiff’s 2004-2005 annual performance review, he was rated as
   having fulfilled all job requirements for the new job of Assistant
   Manager of Radiology.
15. On June 26, 2005, Plaintiff’s salary was increased to $24.00/hour
   based on a merit increase or $49,920.00 annually
16. In Plaintiff’s 2005-2006 annual performance review, he was rated as
   having fulfilled all job requirements.
17. On June 26, 2006, Plaintiff’s salary was increased to $25.88/hour
   based on a merit increase or $53,830.40 annually
18. In December, 2006, Plaintiff took corrective action against some
   subordinate employees.
19. Management officials are required to take corrective action where
   necessary with subordinates.
20. White management officials who take corrective action against their
   subordinates are commended.
21. Plaintiff was condemned by his white superiors Denise Punka and
   Kenneth Markwell.
22. Plaintiff submitted proof of the necessity of the corrective action to
   prevent workplace violence and disruption.
23. Plaintiff charged that he was being treated differently than white
   management officials.
24. By letter from Denise E. Punka, dated April 11, 2007, Plaintiff was
   terminated from his employment allegedly for “Failure to full-fill
   (sic) Management duties; Failure to follow supervisory instructions;
   and Harassment, including creating a hostile work environment.”

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25. filed a charge of discrimination with the Equal Employment
   Opportunity Commission (EEOC) after his termination.
26. After having filed the charge of discrimination Plaintiff sought
   employment with other employers.
27. Employers where Plaintiff applied after his termination contacted
Defendant.
28. Other employers were given false negative information from
   Defendant regarding Plaintiff’s tenure with Defendant.
 COUNT ONE – VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
             OF 1964 AS AMENDED –RACE DISCRIMINATION
29. Plaintiff repeats and realleges as paragraph 29 of his complaint
   paragraphs 1-28 above.
30. Title VII of the Civil Rights Act of 1964 makes it an unlawful
   employment practice to treat employees differently in the terms and
   conditions of their employment because of their race.
31. The Defendant, LOYOLA UNIVERSITY MEDICAL CENTER,
   has violated the abovementioned law by treating Plaintiff differently
   in the terms and conditions of his employment and terminating
   Plaintiff as compared to similarly situated white employees.
32. Plaintiff was treated differently in his conditions of employment
   because of his race.
33. Plaintiff was thus denied his rights under the above Act.
34. Plaintiff was damaged in amounts to be proven at trial as a result of
   the violation of his rights including suffering lost wages, humiliation,
   embarrassment, stress and other compensatory damages.




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      WHEREFORE, Plaintiff prays for judgment in amounts to be proven
at trial for reasonable attorney's fees and costs and such other relief as the
court deems appropriate.
      PLAINTIFF DEMANDS TRIAL BY JURY.
COUNT TWO – VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF
                     1964 AS AMENDED –RETALIATION
    35. Plaintiff repeats and realleges as paragraph 35 of his complaint
       paragraphs 1-28 above.
    36. Title VII of the Civil Rights Act of 1964 makes it an unlawful
       employment practice to take adverse action against an employee
       because they engaged in protected activity or opposed discrimination.
    37. The Defendant, LOYOLA UNIVERSITY MEDICAL CENTER,
       has violated the abovementioned law by treating Plaintiff differently
       than similarly situated employees because he complained of
       differential treatment based on his race.
    38. Plaintiff was also treated differently than non-complaining
       employees who were terminated from employment because he filed
       charges with the Equal Employment Opportunity Commission.
    39. Plaintiff was thus denied his rights under the above Act.
    40. Plaintiff was damaged in amounts to be proven at trial as a result of
       the violation of his rights including suffering lost wages, humiliation,
       embarrassment, stress and other compensatory damages.
      WHEREFORE, Plaintiff prays for judgment in amounts to be proven
at trial for reasonable attorney's fees and costs and such other relief as the
court deems appropriate.
      PLAINTIFF DEMANDS TRIAL BY JURY.



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      COUNT THREE – VIOLATION OF TITLE VII OF THE CIVIL RIGHTS
                    ACT OF 1871 AS AMENDED, 42 U.S.C. 1981
    41. Plaintiff repeats and realleges as paragraph 41 of his complaint
       paragraphs 1-28 above.
    42. The Civil Rights Act of 1871, 42 U.S.C. 1981 makes it an unlawful
       to treat employees differently in the terms and conditions of their
       employment, or terminate employees because of their race or to
       retaliate against an employee for complaining about discrimination.
    43. The Defendant, LOYOLA UNIVERSITY MEDICAL CENTER,
       has violated the abovementioned law by treating Plaintiff differently
       in the terms and conditions of his employment and terminating
       Plaintiff as compared to similarly situated white employees or non-
       complaining employees.
    44. Plaintiff was treated differently in his conditions of employment
       because of his race and because of his opposition to differential
       treatment based on race.
    45. Plaintiff was thus denied his rights under the above Act.
    46. Plaintiff was damaged in amounts to be proven at trial as a result of
       the violation of his rights including suffering lost wages, humiliation,
       embarrassment, stress and other compensatory damages.
      WHEREFORE, Plaintiff prays for judgment in amounts to be proven
at trial for reasonable attorney's fees and costs and such other relief as the
court deems appropriate.
      PLAINTIFF DEMANDS TRIAL BY JURY.




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            COUNT FOUR – DEFAMATION
47. Plaintiff reasserts and realleges as paragraph 47 of this
   complaint paragraphs 1-28 above.
48.   The statements made by Defendant’s agents, were false and
   were made maliciously and with intent to defame Plaintiff.
49. The false and defamatory accusations of Defendants agents
   were published and circulated to employers where Plaintiff was
   seeking employment after he filed the charge of discrimination.
50. That by the use and publication of said words and language used
   and published by Defendant’s agents as aforesaid, Defendant
   intended to charge and assert, and to be understood as charging,
   asserting and were understood by the hearers of the words and
   language as asserting and charging that Plaintiff had failed to
   perform his employment in violation of his integrity and his skills
   as a professional.
51. That the charges, so made and published by Defendant’s agents,
   and so understood, and by them were malicious, false,
   scandalous, and unprivileged and did and does expose Plaintiff to
   hatred and contempt by imputing to them lack of skill at their
   profession.
52. That Plaintiff has been injured and damaged in their good name
   and reputation by the aforementioned acts in amounts to be
   proven at trial.
53. That the acts of the Defendant, through its representatives were
   malicious, reckless and intended to injure Plaintiff.



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      WHEREFORE, PLAINTIFF PRAYS THAT THIS COURT ENTER
JUDGMENT AGAINST THE DEFENDANT, FOR COMPENSATORY
DAMAGES FOR HUMILIATION AND EMOTIONAL DISTRESS IN
AMOUNTS TO BE PROVEN AT TRIAL AND FOR SUCH OTHER
RELIEF AS THIS COURT DEEMS APPROPRIATE.



                                 Respectfully Submitted,

                                 __/s/ Armand L. Andry_________
                                 Attorney for Plaintiff
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Attorney for Plaintiff
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Chicago, Illinois 60603
773/626-3058




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